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                UNITED STATES DISTRICT COURT
                    DISTRICT OF MINNESOTA
__________________________________________________________________

Katie J. Felder, as trustee for the next of            0:07-cv-04929-DSD-JJK
kin of Dominic Aries Felder,

                Plaintiff,

v.                                                DEFENDANTS’ REPONSE TO
                                                        PLAINTIFF'S
Jason King, Lawrence Loonsfoot,                      MOTIONS IN LIMINE
and City of Minneapolis,


           Defendants.
__________________________________________________________________

         Defendants respectfully submit this memorandum in response to Plaintiff's

pretrial motions in limine.

I.       Plaintiff's motion to limit testimony of Defendants' expert witnesses

         It is within the district court's discretion to decide whether or not to admit

expert testimony. United States v. Dico, Inc., 266 F.3d 864, 869 (8th Cir. 2001).

         A.     Lindsey Thomas

         Plaintiff first argues that Defendant's forensic evidence expert, Dr. Lindsey

C. Thomas, should be prohibited from testifying to "whether, and to what extent,

King and Loonsfoot's descriptions of events are consistent with the autopsy

results." Plaintiff's memo in support of motions in limine (Doc. 76) at 4. Plaintiff

also summarizes Dr. Thomas' opinions as only that one of the seven shots fired by

the officers is consistent with the officers' description of the events. Doc. 76 at 3.



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               1.     Whether the officers are testifying truthfully

        First, Plaintiff argues that Defendants intend to ask Dr. Thomas to testify

that Officers King and Loonsfoot did not commit perjury when they testified as to

their recollection of the events leading up to the death of Dominic Felder. This is

incorrect.

        Of course, Defendants do not intend to ask Dr. Thomas whether King and

Loonsfoot committed perjury during their testimony. It is the function of the trier

of fact only to resolve conflicts in testimony or judge the credibility of witnesses.

See., e.g., U.S. v. Hernandez, 569 F.3d 893, 896 (8th Cir. 2009) 1 . ).

               2.     Dr. Thomas' opinions go far beyond what Plaintiff suggests

        Defendants must be permitted to inquire of their forensics expert whether

ALL the physical evidence is consistent with their theory of the case. Here, there

is much more to Dr. Thomas' opinions than the summary Plaintiff provided, as set

forth above. Dr. Thomas opined: (1) that the gunshot wound to Mr. Felder's groin

is consistent with Officer King's testimony; (2) that the amount of gunshot residue

on Mr. Felder's person is consistent with the officers' account; (3) that the gunshot

hole in Mr. Felder's pants is consistent with the officers' account; (4) the laceration

on Felder's hand is consistent with a hand having been on Officer King's gun;


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  This point corresponds directly with Defendants' pending motion in limine to
disallow Plaintiff's experts from testify that Officers King and Loonsfoot's
testimony is "concocted," "an agreed-upon version of these facts that would parry
blame away from either of them if accepted," and "perjured testimony to effect a
cover-up of what may well be a wrongful death at the hands of these officers."
See Doc. 81 at p. 19.

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(5) the absence of injuries to Mr. Felder's scalp is not inconsistent with Officer

King's testimony; (6) gunshot wound V is consistent with Officer Loonsfoot's

testimony; (7) gunshot wound I is consistent with Officer Loonsfoot's testimony;

(8) the other wounds to Dominic Felder's body are consistent with the shots being

fired in rapid succession, and consistent with Mr. Felder falling while the shots

were being fired. (See Thomas Report (attached as Micko Aff., Ex. 1 (Doc. 77-1

at pp. 2-4).

       Not one of these opinions amounts to whether the officers are telling the

truth in their testimony. Instead, Dr. Thomas' opinions provide the jury with

crucial physical evidence supporting Defendants' case. Under Fed. R. Evid. 702,

expert testimony is admissible under the following circumstances:

       If scientific, technical, or other specialized knowledge will assist the
       trier of fact to understand the evidence or to determine a fact in
       issue, a witness qualified as an expert by knowledge, skill,
       experience, training, or education, may testify thereto in the form of
       an opinion or otherwise, if (1) the testimony is based upon sufficient
       facts or data, (2) the testimony is the product of reliable principles
       and methods, and (3) the witness has applied the principles and
       methods reliably to the facts of the case.

Here, Dr. Thomas' testimony will assist the jury in understanding whether the

physical evidence supports Defendants' theory. She must be permitted to testify to

all of her opinions -- and not only Plaintiff's erroneous characterization of the sum

of her expert conclusions.




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                 3.   Chaos and confusion

       Finally, Dr. Thomas should be permitted to testify that "the fact that Officer

King thought he shot Mr. Felder in the chest is indicative to me of the level of

confusion and struggle that was occurring at the time the weapon was fired" and

that any inconsistencies in the testimony of the police officers reflect "the level of

chaos and confusion that occurred during this shooting." See Micko Ex. 1 (Doc.

77-1) at p. 4.

       For an expert witness to be qualified based on experience, that experience

must bear a close relationship to the expert's opinion. Schmidt v. City of Bella

Villa 557 F.3d 564, 571 (8th Cir. 2009), citing Sylla-Sawdon v. Uniroyal Goodrich

Tire Co., 47 F.3d 277, 283-84 (8th Cir.1995). Here, Dr. Thomas has been a

forensic medical examiner and pathologist for government offices for 25 years.

See Declaration of Sara Lathrop, Ex. 1 (Thomas curriculum vitae). She has

testified in countless criminal prosecutions. See id. She has taught courses and

lectured on death investigation and homicides. See id. She can well testify that in

many cases in which she has been involved in the course of her professional

experience, the examination of the forensic evidence does not match precisely

with the recollection of participants in a tense and rapidly-evolving situation

involving weapons.

       Given her experience and qualifications, she should be permitted to testify

that "the fact that Officer King thought he shot Mr. Felder in the chest is indicative

to me of the level of confusion and struggle that was occurring at the time the


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weapon was fired" and that any inconsistencies in the testimony of the police

officers reflect "the level of chaos and confusion that occurred during this

shooting." See Micko Ex. 1 (Doc. 77-1) at p. 4.

       B.     Scott Bechthold

       Plaintiff has argued that Defendants' use-of-force expert, Scott Bechthold,

should be "excluded outright or highly circumscribed."

       1.     Adequacy of MPD policies

       Defendants agree that Bechthold's opinions about the adequacy of

Minneapolis Police Department policies should not be introduced into evidence,

because this Court dismissed Plaintiff's Monell claim against the City.

       2.     Initial seizure

       Plaintiff argues that Bechthold should not be permitted to testify that the

officers' initial seizure of Felder was reasonable. This is incorrect. This testimony

is important because as part of the jury's analysis of whether the officers acted

reasonably in using the force they did, under the totality of the circumstances. The

jury might rightly want to know whether the officers acted appropriately in

following Felder and deciding to try to handcuff him.

       Under the proposed joint jury instruction 9, entitled "Excessive Use of

Force, the jury is asked to consider such factors as "whether a reasonable officer

on the scene, without the benefit of 20/20 hindsight, would have used such force

under similar circumstances," and that "[t]he jury must consider whether the

officer’s actions are reasonable in the light of the facts and circumstances


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confronting the officer…." That totality of the circumstances is important for the

jury to understand

       Likewise, the jury will be asked in the "Assault" jury instruction to consider

what force was necessary to effect an arrest. See the Proposed Jury Instructions,

jointly filed by the parties in this case. In it, the jury is instructed that "[t]he use of

threatened force by a police officer is lawful if it is a reasonable use of force when

used in effecting an arrest," and that "[a] police officer may not subject the person

arrested to anymore restraint than is necessary for the arrest and detention." See

Joint proposed jury instructions, Instruction No. 10. (Doc. 64 at p. 13).

       Scott Bechthold has unique characteristics to assist the jury in

understanding those circumstances. Federal Rule of Evidence 702 permits a

qualified expert to give opinion testimony if the expert's specialized knowledge

would allow the jury to better understand the evidence or decide a fact in issue.

United States v. Arenal, 768 F.2d 263, 269 (8th Cir.1985). “The touchstone for the

admissibility of expert testimony is whether it will assist or be helpful to the trier

of fact.” McKnight v. Johnson Controls, Inc., 36 F.3d 1396, 1408 (8th Cir.1994).

Fed. R. Evid. 704(a) provides that expert evidence is not inadmissible because it

embraces an ultimate issue to be decided by the jury.

       Here, Bechthold should be permitted to testify that, based on his unique

qualifications and experience as a law enforcement officer and police chief, how a

police officer would ordinarily handle a situation like the one presented to Officers

King and Loonsfoot. He, thus, would allow the jury to better understand the


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evidence or decide a fact in issue, where his inside information about his industry

will assist them in understanding those questions.

              2.     Felder's mental health crisis

       Plaintiff apparently intends to attempt to introduce evidence that Dominic

Felder was suffering from a mental health crisis. She wishes to prevent

Defendants' expert witness Scott Bechthold from testifying that reasonable

officers, faced with the information Officers King and Loonsfoot possessed, would

not have concluded that Felder was experiencing a mental crisis.

       As a threshold matter, Defendants have filed a motion in limine to exclude

any evidence regarding information received by Minneapolis Emergency

Communications Center regarding Dominic Felder's mental or emotional

condition, because that information was not relayed to the Defendant Officers, and

because the claims against the City were dismissed with prejudice. See

Defendants' motions in limine (Doc. 81 at pp. 7-8). In addition, Defendants will

object to any evidence offered by Plaintiff showing that Dominic Felder was

suffering from a mental health crisis. Defendants anticipate Plaintiff at least

attempting to introduce evidence that Tiana Williams told Officer Loonsfoot "he's

mental," regarding Dominic Felder.

       To the extent any such mental health evidence is introduced, Plaintiff

argues that Bechthold should not be permitted to testify that reasonable officers

would not have concluded, based on that evidence, that Felder was experiencing a

mental health crisis. Doc. 76 at 5. Plaintiff's reasoning on this point is that


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Bechthold is an expert in police tactics and use of force, but he is not qualified to

opine about whether Dominic Felder was actually experiencing a mental health

crisis. Id. at 5-6.

        This objection verges on the ridiculous. Bechthold's opinion is not on

whether, as a matter of science, Dominic Felder was experiencing a mental health

crisis. In fact, that question is irrelevant to this trial, and would be raised only to

prejudice the jury against the officers. See Sanders v. City of Minneapolis, 474

F.3d 523, 527 (8th Cir. 2007) ("The fact that Alfred may have been experiencing a

bipolar episode does not change the fact that he posed a deadly threat against the

police officers. Knowledge of a person's disability simply cannot foreclose officers

from protecting themselves, the disabled person, and the general public when

faced with threatening conduct by the disabled individual.") (Internal citations and

quotation marks omitted.) The fact that Loonsfoot was told "he's mental" is hardly

enough to suggest to the jury that Loonsfoot should have concluded that Felder

was experiencing a mental health crisis.

        More importantly, Bechthold is an expert in police practices, and his expert

qualifications and experience can help the jury understand whether a police

officer, under the circumstances facing King and Loonsfoot, should have

understood that Felder was experiencing a mental health crisis. He is not being

offered to give an opinion of whether Felder was or was not experiencing a mental

health crisis. Under Rule 702, Bechthold should be permitted to testify that under




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the circumstances facing King and Loonsfoot, a reasonable officer would not have

understood that Felder was experiencing a mental health crisis.

                     3.        Deadly force

       Finally, Plaintiff argues that Bechthold should not be permitted to testify

that in his opinion, Officers King and Loonsfoot's use of deadly force was

reasonable and lawful.

       An expert witness may give his or her opinion if it will help the trier of fact

understand the evidence or determine a fact in issue. Fed.R.Evid. 702. Such

testimony is not objectionable merely because it embraces an ultimate issue to be

decided by the trier of fact. Fed.R.Evid. 704(a). A trial court may, however,

exclude opinion testimony if it is so couched in legal conclusions that it supplies

the fact finder with no information other than what the witness believes the verdict

should be. Hogan v. AT & T, 812 F.2d 409, 411 (8th Cir.1987).

       “‘[D]oubts about whether an expert's testimony will be useful should

generally be resolved in favor of admissibility.’” Williams v. Wal-Mart Stores,

Inc. 922 F.2d 1357, 1360 (8th Cir. 1990), citing Larabee v. MM & L Int'l Corp.,

896 F.2d 1112, 1116 n. 6 (8th Cir.1990) (quoting J. Weinstein & M. Berger,

Weinstein's Evidence ¶ 702 [02], at 702-30 (1988)). In Hurst v. United States, 882

F.2d 306, 311 (8th Cir.1989) (citing Loudermill v. Dow Chemical Co., 863 F.2d

566, 570 (8th Cir.1988)), the Court of Appeals also noted that “[a] trial court

should exclude an expert opinion only if it is so fundamentally unsupported that it

cannot help the factfinder.”


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       In Crawford v. Bundick, 32 Fed.Appx. 785 (8th Cir. 2002), the Court of

Appeals held that admission of expert witness testimony on ultimate issue of

whether deputy's use of deadly force was proper was not abuse of discretion.

       The facts in Crawford are strikingly similar to this one in several respects.

In that case, a Vietnam veteran apparently experiencing a flashback threatened his

wife with a weapon. Id. at 785. Eventually two sheriff's deputies arrived. Id. at

786. The wife told the officers that the situation had resolved and they could

leave, and told the deputies that her veteran husband was experiencing a flashback.

Id. She warned the deputies not to confront him under those circumstances. Id.

The deputies nevertheless investigated the situation, entered the home and one

deputy drew his weapon. Id. The husband emerged from a room yelling, and the

deputies perceived him to be reaching for a weapon. Id. One deputy shouted at the

husband and then fired his weapon, fatally wounding him in the chest. Id. It

turned out that the husband was in fact armed. Id.

       At trial, the deputy called a firearms and police tactics instructor, to testify

as an expert regarding what the proper officer response would be under the

circumstances. Id. The expert testified to standard police operating procedures,

including when an officer may use deadly force in the State of Missouri. Id. The

wife's attorney objected to the question, “Do you have any opinion as to whether

or not [the deputy] reacted properly at the time?” Id. The district court overruled

the general objection and permitted the expert to answer. Id.




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       The Eighth Circuit analyzed whether the district court erred in permitting

the defense expert to testify to an ultimate jury issue. The Court noted that a

district court's decision to admit expert testimony is reviewed for abuse of

discretion. United States v. Dico, Inc., 266 F.3d 864, 869 (8th Cir. 2001). Fed. R.

Evid. 704(a) states that “testimony in the form of an opinion or inference

otherwise admissible is not objectionable because it embraces an ultimate issue to

be decided by the trier of fact.” The Court of Appeals concluded that the district

court did not abuse its discretion in admitting the expert's opinion on the ultimate

issue of whether the deputy's use of deadly force was proper. Id.

       In fact, it is entirely proper for an expert witness to testify regarding the

prevailing standards in the field of law enforcement. See, e.g., Samples v. City of

Atlanta, 916 F.2d 1548 (11th Cir. 1990). In that case, a defendant/police officer's

attorney asked his expert a hypothetical question based on the facts already in

evidence regarding what the officer saw as he approached a suspect that he later

shot. The attorney then asked for the expert's opinion as to “whether or not it was

reasonable for the officer to discharge his firearm when [the suspect] charged him

with a knife.” Over the plaintiffs' objection, the expert testified that in his opinion

the officer acted reasonably.

       The Eleventh Circuit court of appeals opined that

       [T]he literal wording of the question posed tends to call for an
       answer that would invade the province of the jury, which in this
       case was to decide the reasonableness of the officer's actions. We
       find, however, that the questions leading up to this testimony, and
       the manner in which the expert answered the question, properly


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       informed the jury that the expert was testifying regarding
       prevailing standards in the field of law enforcement. After posing
       the hypothetical, but before asking for the expert's opinion as to the
       reasonableness of the officer's actions, the defense questioned the
       expert regarding the industry standards for judging the appropriate
       use of force. The expert testified that he agreed with the standard
       as set out by a previous expert witness, which involved a three-
       pronged inquiry into the subject's ability to harm, his opportunity
       to harm, and whether someone was in jeopardy of being harmed by
       the subject at the time the officer used force against the subject.
       Then, in explaining his answer to the question posed, the expert
       spoke in terms of this three-pronged inquiry, analyzing [the
       suspect's] ability and opportunity to harm [the officer] and the
       jeopardy faced by the officer.

Samples, 916 F.2d at 1551.

       Here, it is entirely appropriate for Bechthold to testify regarding the

prevailing standards in the field of law enforcement. (In fact, Plaintiff's use of

force expert witnesses provide comparable opinions on each point to which

Plaintiff objects.) The jury will not be made up of individuals who already have

sufficient life experience to understand how police officers react in any given

scenario. Under Rule 702, such testimony will assist the jury in evaluating

whether the force used in this case was reasonable. Accordingly, Bechthold

should be permitted to offer his opinions about King and Loonsfoot's use of force.

       C.     Todd Sauvageau

       Todd Sauvageau is also a use of force expert. For the same reasons set

forth in the section about Scott Bechthold, Sauvageau should be permitted to

testify as to his opinions about the force used by King and Loonsfoot




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II.    Evidence that Felder's DNA was on King's gun

       Plaintiff moves exclude the results of the Minnesota Bureau of Criminal

Apprehension (BCA)'s examination of Officer King's weapon, arguing that she did

not have an equal opportunity to do DNA testing because the gun was prematurely

returned to Jason King. The BCA's examination of the gun revealed the presence

of Felder's DNA on the front sight, equipment rail and possibly the trigger guard

of King’s weapon. This is very important probative evidence showing that Felder

did try to disarm Officer King. Plaintiff's motion to exclude this evidence should

be denied.

       A.     The motion for spoliation sanctions is untimely

       First, this motion should be denied as untimely. Just last month, Judge

Tunheim ruled that a spoliation motion for sanctions filed at the time of summary

judgment would be denied as untimely, for not having been brought before the

non-dispositive motion deadline expired. See Nicollet Cattle Co., Inc. v. United

Food Group, LLC, 2010 WL 3546784 (D. Minn. Sept. 7, 2010) at *6, n2 (Case

0:08-cv-05899-JRT-FLN Document 173 Filed 09/07/10 at p. 13, n2 (Lathrop

Decl., Ex. 2). See also Ngo v. Storlie, No. 03-3376, 2006 WL 1046933, at *1 n. 1

(D.Minn. Apr. 19, 2006), for the proposition that a motion for spoliation sanctions

is non-dispositive.

       Plaintiff's own motion notes that Plaintiff's were aware of the return of

King's service weapon to him as of June 27, 2007. See Doc 77-2 at p. 23. At that

time, Defendants' counsel noted that the return of the gun could raise spoliation


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issues should litigation occur. And yet Plaintiff waited until October 4, 2010 --

three years and four months later -- to bring a motion for spoliation of evidence.

The deadline for bringing non-dispositive motions in this case expired more than

two years ago on October 1, 2008 (See Doc. 13).

       In Nicollet Cattle Co., Inc.., Judge Tunheim ruled that a spoliation motion

would be untimely if brought at the time a summary judgment motion was before

the Court. Here, we are a week away from trial. Following Nicollet Cattle Co.,

the motion for spoliation sanctions should be denied as untimely.

       B.     Plaintiff's counsel introduced this document into evidence in the
              direct examination of his witness, and stated on the record that he
              had stipulated to its admission into evidence.

       Plaintiff's motion to exclude the DNA report should also be denied because

Plaintiff waived this evidence by choosing to introduce it into evidence herself.

       On October 7, 2010, the parties took the trial deposition of Plaintiff's

forensic evidence expert, Richard Ernest. During the deposition, Plaintiff's

attorney states as follows: "MR. BEHRENBRINKER: Okay. And then been

Plaintiff's Exhibits numbers 37, 38 and 39 by agreement and stipulation are

admitted into evidence." See Lathrop Decl., Ex. 3 (partial rough draft transcript

of trial deposition of Plaintiff's forensics expert Richard Ernest) at p. 4 (emphasis

added.) Plaintiff's Exhibit 39 is the BCA report regarding DNA evidence on

King's gun. See Doc. 90 (Plaintiff's Amended Exhibit List).

       During his trial testimony, Plaintiff had Ernest examine the BCA report (Id.

at p. 78), explain its import to the jury (id.) and explain why it supported Plaintiff's


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case. See id. at e.g. 79, 80 , 82, 83, 85, 86, 104, 105. Moreover, as part of

Defendants' cross of Ernest, they asked him several questions about the report as

well. Because Plaintiff's expert repeatedly testifies about this report, and relies

upon it to argue that it supports Plaintiff's theory of the case, it is not clear what

prejudice caused could be caused by its introduction

       Plaintiff also complains that the DNA report is too vague, stating that terms

such as "trigger guard" and "slide" are not sufficiently specific. But during his

trial testimony, Ernest also referred to several photographs which depicted the

areas from which the DNA swabs were taken. (Ernest depo. at 79-80, publishing

to the jury and describing Plaintiff's exhibits 37 and 38).

       Because Plaintiff herself stipulated to and introduced into evidence the

BCA report regarding DNA during her expert's trial testimony, she should not be

permitted to have it both ways and attempt to claw it back, now.

        C.    The BCA test was not performed for Defendants' benefit.

       Plaintiff's motion to exclude the BCA's DNA test results should also be

denied because that test was not performed for the benefit of Defendants. This is

not a case where the Defendants in a civil lawsuit controlled certain evidence and

had its paid litigation experts perform certain tests to support their case for trial.

Instead, the DNA was performed by neutral third party BCA for the homicide

investigation into Dominic Felder's death. See Doc. 77-2 at p. 2 (report addressed

to Sgt. Nancy Dunlap, one of the homicide detectives on this matter).




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       Like Plaintiff, Defendants in this matter did not have a for-hire expert

examine the gun for DNA evidence. Instead, both parties are in the same position

-- they have a report performed by a neutral third party to rely upon.

       Therefore, there can be no argument that Defendants should somehow be

sanctioned for an unfair advantage.

       D.     Defendants did not intentionally destroy evidence with a desire to
              suppress the truth

       In the Eighth Circuit, courts follow a two-part inquiry to determine whether

spoliation sanctions are warranted. First, “[a] spoliation sanction requires a

finding that a party intentionally destroyed evidence with a desire to suppress the

truth.” Bakhtiari v. Lutz, 507 F.3d 1132, 1135 (8th Cir. 2007); see also Greyhound

Lines, Inc. v. Wade, 485 F.3d 1032, 1035 (8th Cir. 2007). In short, “a finding of

bad faith is necessary.” Menz v. New Holland N. Am., Inc., 440 F.3d 1002, 1006

(8th Cir. 2006). Second, where such bad faith has been demonstrated, sanctions

are only appropriate where the moving party has been prejudiced because the

missing records would have favored its case. Stevenson v. Union Pac. R.R. Co.,

354 F.3d 739, 748 (8th Cir. 2004) (“There must be a finding of prejudice to the

opposing party before imposing a sanction for destruction of evidence.”).

       The moving party bears the burden of establishing both of these elements.

Johnson v. Ready Mixed Concrete Co., 424 F.3d 806, 812 (8th Cir. 2005) (no

spoliation where the moving party “proffered no evidence” that allegedly missing




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photographs “were intentionally destroyed to suppress the truth or that they would

have helped his case”).

       Here, Plaintiff cannot establish that Defendants intentionally destroyed

evidence with a desire to suppress the truth. Jason King testified that, after the

Felder shooting, internal affairs held his gun, and he was using a "loaner" weapon

that the MPD only has one model of. See Lathrop Decl., Ex. 4 (King depo.) at

123-124. When another officer who used that same type of gun's weapon broke,

he could not work until he got a gun. Id. At that time, Officer King asked for his

weapon back. Id. at 124. However, when he got it back, it never worked correctly

again. Id.

       This is not the type of bad faith intentional destruction of evidence that the

Courts sanction. Instead, it simply reflects an under-funded police department

with very limited resources.

       E.     Plaintiff cannot establish prejudice

       Likewise, Plaintiff has not established that her case has been prejudiced by

the fact that only the BCA report regarding DNA exists. See Stevenson, 354 F.3d

at 748 (“There must be a finding of prejudice to the opposing party before

imposing a sanction for destruction of evidence.”). Notably, even after Jason

King's deposition on June 11, 2008, where Plaintiff learned that King's weapon

was never again used because it did not work properly after this incident, Plaintiff

did not seek to have the gun tested. More than two years have passed since that

time. Plaintiff asked for other evidence, including Felder's clothing, for expert


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testing, but did not attempt to have it examined for DNA. Perhaps she hoped that

the specter of destruction of evidence would be more powerful for her case than

any evidence that was actually on the weapon.

        In fact, Plaintiff notably has not produced evidence showing that she would

even have been able to do an examination for DNA on King's gun after the BCA

had swabbed its surfaces for its own test. Again, Plaintiff has the burden of

proving prejudice. Nor did Plaintiff ever try to obtain the DNA swabs from its

testing of King's gun, in order to do her own tests on the swabs.

        In addition, as noted above, Plaintiff has relied upon the DNA report and

has introduced it into evidence. In summary, Plaintiff cannot establish that the

DNA report from the BCA prejudices her case.

III.    Police reports, investigative reports, internal affairs reports, and
        internal investigations.

        Plaintiff seeks to exclude all police reports, investigative reports, internal

affairs reports, and reports of internal investigations. Defendants does not oppose

this motion, except that they do seek to introduce those items listed on their

exhibit list. (For instance, the transcript of the dispatch information received by

Officers King and Loonsfoot should be admitted.) But Defendants agree that

collateral investigations of this incident (including the grand jury, the internal

affairs, the Civilian Review Authority) should not be admitted into evidence.

Likewise, the Department of Civil Rights determination should be excluded as

well.



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IV.       Broken window evidence

          Plaintiff seeks to exclude evidence that Dominic Felder threw a large

concrete object through a neighbor's window. This evidence is relevant, probative,

not prejudicial, and should be admitted into evidence.

          “Relevant evidence” is evidence having any tendency to make the existence

of any fact that is of consequence to the determination of the action more probable

or less probable than it would be without the evidence. Fed. R. Evid. 401.

Irrelevant evidence is not admissible. Fed. R. Evid. 402. Even when a court

determines that evidence is relevant, it may be excluded “if its probative value is

substantially outweighed by the danger of unfair prejudice, confusion of the

issues, or misleading the jury. . . .” Fed. R. Evid. 403 (emphasis added).

          Here, the jury is being asked to consider whether the force used by Officers

King and Loonsfoot was reasonably necessary given the circumstances they were

facing.

          In determining whether such force was “not reasonably necessary,”
          you must consider such factors as the need for the application of
          force, the relationship between the need and the amount of force that
          was used, the extent of the injury inflicted, and whether a reasonable
          officer on the scene, without the benefit of 20/20 hindsight, would
          have used such force under similar circumstances. The jury must
          consider that police officers are often forced to make judgments
          about the amount of force that is necessary in circumstances that are
          tense, uncertain and rapidly evolving. The jury must consider
          whether the officer’s actions are reasonable in the light of the facts
          and circumstances confronting the officer, without regard to the
          officer’s own state of mind, intention or
          motivation.

8th Cir. Civil Instr. § 4.10 (2008).


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       The fact that Felder threw a 45-pound landscaping paver through his

neighbor's window minutes before the shooting is probative on the issue of how

strong he was during the fight with Officers King and Loonsfoot. Both officers

testified that Felder was incredibly strong during their fight with him. Officer

King was not able to overpower Felder during the fight; nor was Loonsfoot.

       Plaintiff likely intends to introduce evidence about Felder's physical build

at trial. Plaintiff's exhibit 103 is Defendants' Response to a Request for

Admissions in this matter, including several admissions regarding the height and

weight of Felder, King, and Loonsfoot at the time of the shooting. Felder was

5'1", and weighed 150 pounds at the time of his death. Plaintiff likely intends to

introduce this evidence to undermine the officers' testimony that Felder was very

very strong and that they could not overpower him -- which led to Felder being

able to try to disarm Officer King.

       Thus, the fact that Felder threw a 45-pound landscaping paver into a house

window is relevant to his strength on that night. The jury will be asked to consider

"the relationship between the need and the amount of force that was used."

Felder's strength on that night is very relevant to "the facts and circumstances

confronting the officer." Accordingly, the evidence regarding the patio stone

should be admitted.




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V.     Civilian Review Authority determination

       Defendant does not oppose Plaintiff's motion to exclude the Minneapolis

Civilian Review Authority (CRA) determination that the Katie Felder's complaint

about the situation was not sustained.

       It is worth noting that Plaintiff seeks to keep out the CRA determination,

the grand jury "no bill," the internal affairs investigation that cleared the officers,

and any other internal investigation. Notably, each of these investigations

determined that the force used by the officers was reasonable.

       Curiously, Plaintiff seeks to introduce the one collateral investigation that

came out favorably for her -- the Minneapolis Department of Civil Rights, which

issued a "probable cause determination," finding that probable cause existed to

believe that the officers were motivated by racial discrimination in using the force

they used on Felder. She seeks to introduce it despite the fact that the subject of

that investigation -- racial discrimination -- is not part of this case; whereas all of

the other reports that she wants to exclude presented the exact same question that

is being considered by the jury: whether the force used by the officers was

reasonably necessary.

VI.    Grand jury "no bill."

       Defendants do not oppose Plaintiff's motion to exclude evidence that when

the Hennepin County Attorney presented this matter to a grand jury for a potential

criminal indictment against Officers King and Loonsfoot, the grand jury issued a

"no bill," declining to indict the officers.


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VII.   Defense witness awards and commendations

       Defendants do not oppose Plaintiff's motion to exclude evidence of defense

witnesses' awards, commendations, and similar accolades. Defendants made a

similar motion to keep out character evidence. Other than expert witness

qualifications, no such evidence should be admitted for any witness.

VIII. Dominic Felder's criminal history

       Defendants do not oppose Plaintiff's motion to exclude evidence of

Dominic Felder's criminal history. Defendants made a similar motion to keep out

character evidence. Other than expert witness qualifications, no such evidence

should be admitted for any witness.

IX.    Minneapolis Department of Civil Rights

       Plaintiff intends to introduce into evidence the findings of the Minneapolis

Department of Civil Rights in a charge of discrimination alleging racial

discrimination in this matter. Both the findings, and any reference to that

administrative proceeding, should be excluded from evidence.

       A.     The determination should not be admitted as proof of motive, intent,
              or plan.

       Plaintiff argues that the Department of Civil Rights determination should be

admitted under Fed. R. Evid. 404(b) as proof of "motive, opportunity, intent,

preparation, plan, knowledge, identity, or absences of mistake or accident." Doc.

76 at 21. Admitting the determination for evidence of motive, intent or plan

would directly violate the law on Section 1983 excessive force cases. Under



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Eighth Circuit Model Jury Instruction 4.10, the jury is instructed: "[y]ou must

consider whether the officer's actions are reasonable in the light of the facts and

circumstances confronting the officer, without regard to the officer's own state

of mind, intention, or motivation." (Emphases added.)

       The civil rights determination should not be admitted as evidence of

motive, intent, or plan.

       B.     The racial discrimination claim is not being asserted in this lawsuit.

       Second, the issue of discrimination is not being presented to the jury for

trial. The only claims in the Plaintiff's Complaint are for Section 1983 Excessive

Force, Assault and Battery. Plaintiff's unsuccessfully tried to amend the complaint

to assert a discrimination claim, but that motion was denied. See Doc. 60 (noting

motion to amend orally denied from bench); Doc. 62 (transcript of oral ruling at

hearing) at pp. 24-27.

       The Court's denial of the motion to amend the complaint was appropriate,

because, among other reasons, the entire racial discrimination claim is premised

on the allegation that excessive force was used. This was the basis of Magistrate

Judge Keyes' ruling that the racial discrimination claim should be added to this

lawsuit for trial: because if the jury finds that there was no excessive force, that

would preclude a jury finding that the officers were motivated to commit

excessive force by racial discrimination. See id. Indeed, Mr. Micko, counsel for

Plaintiff, acknowledged as much at the hearing on the motion to amend the

Complaint. See Doc. 62 at pp. 22-23 (regarding whether a jury verdict that the


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Defendant officers did not use excessive force would preclude Plaintiff's

discrimination claim).

       This lawsuit is not about any racial discrimination and no mention of those

allegations should be mentioned to the jury. This exclusion should include -- but

not be limited to -- the probable cause determination from the Department of Civil

Rights.

       C.     The Probable Cause determination is hearsay.

       The MDCR determination is a preliminary determination made by the

MDCR. Such determinations are later tried in a full hearing, before the

Minneapolis Commission on Civil Rights, and do not represent a final finding of

the MDCR or the Commission. Reports that do not constitute the findings of an

agency do not meet the hearsay exception of Fed. R. Civ. P. 803(8)(C). Figures v.

Board of Pub. Utils., 967 F.2d 357, 360 (10th Cir. 1992). Thus, when, such as

here, a probable cause determination is subject to de novo review and final

determination later by a fact finder, the report does not meet the requirements of

Fed. R. Evid. 803(8)(C).

       D.     The Probable Cause determination is irrelevant, prejudicial and
              confusing.

       The MDCR Probable Cause determination should also be excluded because

it is irrelevant, prejudicial and confusing.

       In Sanders v. Johnson Bros. Liquors, Inc., 0:05-cv-00686-DWF-AJB 2006

Judge Frank stated that a probable cause determination by the St. Paul Department



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of Human Rights would not be admissible at trial when, among other things, the

investigation never proceeded to contested hearing See Sanders v. Johnson Bros.

Liquors, Inc., 2006 WL 3081050, *4, at fn3 (D.Minn. Oct. 27 2006) (Case 0:05-

cv-00686-DWF-AJB, Doc. 21. at 8-9), citing Johnson v. Yellow Freight System,

Inc., 734 F.2d 1304, 1309 (8th Cir. 1984).

   In Johnson v. Yellow Freight System, Inc., 734 F.2d 1304, 1309 (8th Cir.

1984), the Court of Appeals affirmed the District Court's decision to exclude the

EEOC findings in the case. The Court noted that under Chandler v. Roudebush,

425 U.S. 840, 863 n. 39, (1976), a court may admit administrative findings in a

trial de novo on the same issue, a trial court may exclude them if "sufficient

negative factors are present." Johnson, 734 F.2d at 1309, citing Fed.R.Evid.

803(8)(C) (Notes of Advisory Committee on Proposed Rules).

       The trial judge correctly may perceive a danger of unfair prejudice to
       the defendant or properly may consider that time spent by the
       defendant in exposing the weaknesses of the EEOC report would
       add unduly to the length of the trial. Moreover, the trial judge
       properly may give weight to the hearsay nature of the EEOC report
       and to the inability of the defendant to cross-examine the report in
       the same way that a party can cross-examine an adverse witness. For
       these reasons, we hold that in an employment discrimination case the
       admission of administrative findings, such as an EEOC reasonable
       cause determination, is to be left to the sound discretion of the trial
       court. We believe that this is particularly important in cases, like the
       present one, in which an employment discrimination claim is tried to
       a jury.

Johnson, 734 F.2d at 1309.

       Significant "negative factors" mentioned in Johnson are also present here.

First, the findings are irrelevant to the claims before the jury. Under Fed. R. Civ.


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P. 401, relevant evidence is evidence having any tendency to make the existence

of any fact that is of consequence to the determination of the action more or less

probable. The findings do not fit this definition. The Department of Civil Rights

is not charged with deciding whether a police officer uses excessive force -- it is

charged with deciding whether there is probable cause to believe that a violation

of the anti-discrimination ordinance has occurred. That question is not before this

jury. Therefore, they are not relevant.

       Second, the findings offer no probative value at all. The MDCR

investigation relied completely on the discovery in this lawsuit. There was no

additional information gleaned by the investigators that could be useful to the jury

in this case in determining whether excessive force was used. And if the

investigator was able to discover some important piece of evidence that was not

discovered by the Plaintiff's attorneys in this lawsuit, that evidence could be

presented to the jury, but not through the prejudicial lens of the probable cause

determination.

       Third, the findings are prejudicial. They would serve only to paint the

defendant officers as racists; bad people. This violates Fed. R. Civ. P. 403, which

states that evidence (even relevant evidence) may be excluded if its probative

value is substantially outweighed by the danger of unfair prejudice, confusion of

the issues, among other reasons. See Fed. R. Civ. P. 403.

       Fourth, the findings would serve to invade the province of the jury on

deciding the ultimate question of fact before it -- did these officers use excessive


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force on Dominic Felder? In essence, the presentation of the findings would

broadcast a message to the jury that professionals have already looked at these

allegations, and they have concluded that the officers did in fact violate Felder's

rights. And Plaintiff already intends to call at least one expert to testify about his

expert opinion on that ultimate question.

       Fifth, the findings could lead to juror confusion for numerous reasons.

First, the MDCR report was issued by a quasi-independent department of the City

of Minneapolis: the Department of Civil Rights. Jurors are likely to attribute

statements and opinions of the department to those of the Defendant as a whole.

That could not be further from the truth. Should the MDCR Determination be

admitted, Defendant will be left explaining to the jury the complex and opposing

position that it takes with its own department. This confusion alone is sufficient to

exclude the MDCR Determination.

       Other factors exist to warrant exclusion under the Johnson v. Yellow

Freight doctrine. The MDCR Determination is filled with internal inconsistencies.

Defendants believe the Determination contains errors in the law and the facts.

       This excessive force case tried before a jury should not be allowed to

devolve into mini-trials on the probable cause determinations, especially when, as

here, the determination is based entirely on discovery in this case. The jury will

have ample opportunity to hear from witnesses first hand. There is no reason to

admit the MDCR probable cause determination.




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                                Respectfully submitted,

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